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           APPENDIX P
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          415. Plaintiffs have presented evidence that an “as authorized” MR-GO—with pristine

wetlands and “as authorized” channel width—is still a major conveyer of surge and a major

source of devastating overtopping flows. Exh. 93, Kemp Supp. Decl. at ¶16.

          416. The flood structures along Reach 2 were not armored, and they had no breakers or

protective wetlands in front of them to serve as a buffer to storm surge and waves. Exh. 3, ILIT

at p. 2-19, Figure 2.6.

          417. In contrast, because it was constructed of cohesive soils on its slopes and the slopes

were fertilized, seeded and sodded to form a section that generally prevented rain wash erosion

and erosion from tidal wave action, the 40 Arpent Canal Levee, while overtopped, did not

catastrophically fail during Hurricane Katrina. Exh. 13, Theis 702c Expert Report (Sept. 2007)

at ¶27.

          418. The widening of the Reach 1/GIWW channel from its design width of 650 feet to

1,000 feet increased the volume of water (conveyance) during Katrina and contributed to the

overtopping of the LPV structures and the catastrophic flooding of New Orleans East. Exh. 91,

Kemp Expert Report (July 2008) at pp. 11, 57, 80, 148-58; Exh. 81, Bea Expert Report (Jan.

2009) at p. 5, ¶4.

Intensified Wave Energy

          419. Surge and wave height alone do not reflect the reality of the total universe of

interactive hydrodynamics during a hurricane. Wave energy is also a critical factor in the

destruction of LPV structures. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶¶19, 27, 31-32.

          420. Once the combined surge and waves reach the top of a flood control structure, they

cannot and do not rise any higher. Instead, the water overflows the crown and continues to do so

until the water level recedes below the crown. This is like a bathtub that overflows once the




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water reaches the top and continues to overflow until the water is turned off. While the water

level remains constant, the volume of water and rate of overflowing are more indicative of the

amount and extent of flooding. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶¶19, 27.

       421. Catastrophic flooding is similarly a function of when the levee (bathtub) overflows,

how long it overflows (time of onset and duration), and the intensity (rate) of water flow. Thus,

the water’s elevation is not the most predictive or sensitive factor, but merely an indicator of the

mean crown elevation of the flood protection works (assuming that they do not breach). Exh. 93,

Kemp Supp. Decl. (Oct. 2008) at ¶¶19, 27.

       422. The presence of the MR-GO channel as it existed on August 29, 2005 increased the

wave energy impinging on the Reach 2 LPV structures and led to greater surge discharges in the

“funnel,” particularly in Reach 1 and the IHNC, than would have occurred if the authorized

dimensions had been maintained. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶32.

       423. The MR-GO’s channel size matters because the Corps’ operation and maintenance

program, consisting primarily of channel dredging, increased the total oceanographic stresses to

which the LPV structures were exposed during Katrina, and significantly increased the

likelihood of breaching and catastrophic flooding of Plaintiffs’ properties. Exh. 93, Kemp Supp.

Decl. (Oct. 2008) at ¶32.

       424. Channel widening and the resultant destruction of protective vegetation on the

water side promoted earlier, prolonged, and severe wave side attack of the Reach 2 EBSBs. Exh.

90, Bea Supp. Decl. (Oct. 2008) at ¶5(b); Exh. 81, Bea Expert Report (Jan. 2009) at pp. 14-16,

¶¶10-14.

       425. The fact that the Reach 2 channel was allowed to grow to 300 to 500% beyond its

initial width—and in some places up to 3,700 feet—created a broader expanse and volume of




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experts’ conclusion that it was the MR-GO’s (including Plaintiffs’ property) in its defective and

unmitigated condition that was the determinative factor in causing the catastrophic flooding of

New Orleans East, Lower 9th Ward, and St. Bernard Parish. Exh. 106, Vrijling Joint Decl. (Jan.

2009) at ¶4.

Plaintiffs’ Modeling Results

       444. Plaintiffs’ modeling results demonstrate that the MR-GO had a dramatic impact on

several critical storm parameters that caused catastrophic flooding, specifically when contrasting

the modeling results of Scenario 2c (Neutral MR-GO) with Scenario 1 (MR-GO As Was) shows:

       (a)      overtopping is reduced by 80% for all three polders that experienced catastrophic

flooding. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶22;

       (b)      surge discharge into the IHNC via Reach 1/GIWW decreased by 274%. Exh. 93,

Kemp Supp. Decl. (Oct. 2008) at ¶21, Table 1;

       (c)      surge velocity diminishes by 246%. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at

¶21, Table 1;

       (d)      wave height is reduced by more than 50%. Exh. 93, Kemp Supp. Decl. (Oct.

2008) at ¶30(a);

       (e)      wave period plummets about 60%. Exh. 93, Kemp Supp. Decl. (Oct. 2008)

¶30(b); and

       (f)      wave energy eroding the EBSBs along Reach 2 dissipates by 300%. Exh. 93,

Kemp Supp. Decl. (Oct. 2008) ¶30(c).

       445. The reduction in protective wetlands (both in the Golden Triangle and Central

Wetlands Unit and immediately in front of the LPV structures) and increase in channel width had

demonstrable effects on flooding levels. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶¶19-27.




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